Hand-Delivered

TI-IE UNITED STATES
DISTRICT COURT
FOR TI-IE WESTERN DISTRICT
OF NORTH CAROLINA
401 West 'l‘l‘ade Street, Room 210
Charlotte, NC 28202

BRIANNE STEPHENS,

T S S, minor,D S, minor

And D G S, minor Brought by mother

and next friend BRIANNE STEPHENS

and on behalf of all others similarly situated,

PLAINTIFF(S)

-v-

STATE OF N(_)RTH CAROLINA,

OFFICE OF THE ATTORNEY GENERAL OF
STATE OF NORTH CAROLINA;

JOSHUA S'I`EIN
in his oflicial and individual capacity;

NORTH CAROLINA ADl\/[[NISTRATIVE
OFFICE OF THE COURTS;

NORTH CAROLINA IUDICIAL BRANCH of
MECKLENBURG COUNTY SUPERIOR COURT;

HON MARK MARTIN
in his ellicial and individual capacity;

HON GARY L. HENDERSON,
in his official and individual capacity as Judge of the
Mecklenburg County District Court;

ASSOCIATION OF FAMILY AND CONCILIATION COURTS
(AFCC);

PETER sALEl\/l
in his 0Hicial and individual capacity;.

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Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 1 of 48

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COUNCIL FOR CH]LDREN’S RIGHTS (CFCR);
In business capacity

BOB SIMMONS,
in his official and individual capacity;.

LESLEY E GARAFOLA,
in her ollicial and individual capacity;

SMlTH MOORE LEATHERWOOD ,
in business capacity;

JOHN PH]LLIP ZIMl\/[ER,
in his ollicial and individual capacity;

JOHN PARKER,,
in his oflicial and individual capacity;

SHANTRELL G. W]LLIAMS,
in her oilicial and individual capacity;

PEGGY THIES,
in her official and individual capacity;

PATRICIA ANN TUTONE ,
in her official and individual capacity;

MILLER BOWLES LAW FIRM,
In its business capacity;

BRETT CHRISTOPHER HOLLADAY,
in his oHicial and individual capacity;

M-RQSE-MzHHE-JO}H\ISON LEWIS LAW FIRM, PLLC,
In its business capacity;

ANN ROSE MARIE JOHNSON LEWIS,
in her official and individual capacity;

 

 

 

 

 

 

CAROLINA HEAL'IHCARE SYSTEM BEHAVIORAL HEALTH,

in its business capacity;

CRYSTAL ROSE BULLARD,

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 2 of 48

 

in her official and individual capacity;

SHEUNESS CUTHBERTSON,

in her official and individual capacity;

CENTER FOR CREATIVITY & HEALING, PC,
in its business capacity;

MARIE CURRAN,
in her ochia] and individual capacity;

SHERRY LYERLY-TARNER, MS, LPCA,
in her official and individual capacity;

MECKLENBURG COUNTY DEPARTMENT OF SOCIAL SERVICES
CI-HLD PROTECTIVE SERVICES;(DSS) (CPS)
In its business capacity

LASHONDA GREENE,
in her official and individual capacity;

DEFENDANTS

AMENDED COMPLAINT

l. Plaintiffs BRIANNE STEPHENS alleges the followiug:

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2. BRIANNE STEPHENS, T.S S, D S, and D G S each a qualified individual With disabilities,
(collectively, “Plaintiifs”), bring this complaint against the above-named Defendants State of
NORTH CAROLINA, et al. (collectively “Defendants”), Who are public and/or private entities.
From 2014 - present, Defendants have anrde_d_ Plaintiffs as having a mental impairment called

PAS, and depression and regarded T.SS, D.S. depression, anxiety and discriminated against

Plaintiffs according to these perceived mental impairments called parental alienation. Defendants

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 3 of 48

 

 

 

 

acted on assumptions and sex-based stereotypes about Plaintiffs’ disabilities; and failed to
individually analyze what services and supports would be appropriate considering those
disabilities Defendants refused to provide appropriate individualized treatment and
acconnnodations necessary to ensure that Plaintiffs had full and equal opportunity to court
proceedings to which BRIANNE STEPHENS parental rights and children’s custody were at
issue. Moreover, Defendants exploited Plaintiffs’ disabilities

Defendants’ actions, inactions, and omissions here violate Title II of the Americans with
Disabi]ities Act of 1990, as amended (“AD ”), 42 U.S.C. §§ 12131-12134, and its implementing
regulation, 28 C.F.R. Part 35 ; Title I[I of the Americans with Disabilities Act of 1990, as amended
(“ADA”), 42 U.S.C. § 12181 et seq. , and its implementing regulation at 28 C.F.R. Part 36; and
Section 504 of the Rehabi]itation Act, 29 U.S.C. § 794.

Plaintiifs do not challenge or appeal a lawful State court decision. Plaintiffs challenge the lack of
administrative safeguards and obligations required by the American With Disabilities Act as
amended and Sec 504 of the rehabilitation act of 1973.

These administrative failings resulted in the abborgations of Plaintiff`s’ l4 Amendments Rights.
This matter raises an issue of general public importance."From the Public Health Perspective.

In the judicial system, a norm is established against discrimination on the basis of disability tying
law closely to public health.l Thus, it would seem that justice and public health in many Ways are
interdependent However, public health and law are separate disciplines, and as Wendy Pannet, a
leading expert on health, disability, and public health law puts it, “The legal perspective contrasts
dramatically With a public health population perspective Legal reasoning tends to rely on analogy
and deductive application of rules to facts. Public health works from empirical evidence and
probabilistic reasoning.” Including persons with disabilities providing equal stance in courts of

law necessitates a blueprint that avoids exploitation of disabilities due to legal adversarial tactics"

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 4 of 48

 

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PARTIES
The United States has an Interest herein; This Case Is Of Imperative Public Importance ;
Plaintiff, BRIANNE STEPHENS resides in MATTI-[EWS, NC 28104. is a 51 year old Woman
with disabilities and regarded as having disabilities she does not have
Plaintiffs, T S S,D S, ANDD G S are three minor individuals who are the children of BRIANNE
STEPHENS and are persons regarded as having disabilities
Defendant, STATE OF NORTH CAROLINA et al, including its respective departments, agencies,
and other instrumentalities, is a unit of local government in the State of North Caro]ina, is a
“pub]ic entity” within the meaning of 42 U.S.C. § 12131(1) and is subject to the ADA and its
implementing regulation lt is a recipient of federal financial assistance
Defendant, NORTH CAROLINA JUDICIAL BRANCH including its respective departments,
agencies, and other instrumentalities, is a unit of local government in the State of North Carolina,
is a “pub]ic entity” within the meaning of 42 U.S.C. § 12131(1) and is subject to the ADA and its
implementing regulation, It is a recipient of federal financial assistance
Defendant, CH]EF JUSTICE Mark Martin, lD in the Supreme Courts of NC in his leadership role
as the administrator and manager of NC’s system, its courts, oflicers, and related offices and
programs. It is a recipient of federal financial assistance It is located PO Box 1841 Raleigh, NC

27602 He is being sued in his individual and official capacities

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 5 of 48

 

 

 

 

 

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Defendant, ATTORNEY GENERAL of NC JOSHUA STEIN in his leadership role as the
administrator and manager of NC’s system, its courts, officers, and related offices and programs.
is an independent attorney, member of the NC Bar Association and Mecklenburg County Bar
Association. He is both a “pub]ic entity” within the meaning of 42 U.S.C. § 12131(1); and
“private entity” within the meaning of 42 U.S.C. § 12181(1); and is subject to the ADA and its
implementing regulations It is a recipient of federal financial assistance lt is located P.O.BOX
629, Raleigh, NC 27602-0629 He is being sued in his individual and official capacities
Defendant, ATTORNEY GENERAL OFFICE of NC in his leadership role as the administrator
and manager of NC’s system, its courts, officers, and related offices and programs He is both a
“public entity” within the meaning of 42 U.S.C. § 12131(1); and “private entity” within the
meaning of 42 U.S.C. § 12181(1); and is subject to the ADA and its implementing regulations It
is a recipient of federal financial assistance It is located P.O.BOX 629, Raleigh, NC 27602-0 629
He is being sued in official capacity

DEFENDANT, HON GARY L HENDERSON was the Presiding Judge of the NC DISTRICT
COURT DIVISION FOR THE 26TH JUDICIAL DISTRICT in MECKLENBURG COUNTY,
NC at the time of the events complained of herein.I-Ie is a recipient of federal financial assistance
He is located at District Court(26) 832 East 4th Street, Suite 9600 Charlotte, NC 28202 He is
being sued in his official and individual capacity.

Defendaht, BRETT CI-[RISTOPHER HOLLADAY, is an independent attorney, member of the

NC Bar Association and Mecklenburg County Bar Association. He is both a “public entity”

Within the meaning of 42 U.S.C. § 12131(1); and “private entity” within the meaning of 42 U.S.C.

§ 12181(1); and is subject to the ADA and its implementing regulations He is a recipient of
federal financial assistance He is located at 508 East Boulevard Charlotte, North Caro]ina

28203. He is being sued in his official and individual capacity

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 6 of 48

 

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18. Defendant, MILLER BOWLES LAW FIRM is both a “pub]ic entity” Within the meaning of 42

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U.S.C. § 12131(1); and “private entity” within the meaning of 42 U.S.C. § 12181(1); and is
subject to the ADA and its implementing regulations lt is a recipient of federal financial
assistance Located at 508 East Boulevard Charlotte, North Caro]ina 28203. He is being sued in
his business capacity

Defendant, ANN ROSE MARIE JOHNSON LEWIS, is an independent attorney, member of the
NC Bar Association and Mecklenburg County Bar Association. She is both a “pub]ic entity”
within the meaning of 42 U.S.C. § 12131(1); and “private entity” Within the meaning of 42 U.S.C.
§ 12181(1); and is subject to the ADA and its implementing regulations She is a recipient of
federal financial assistance She is located 101 N. MCDOWELL STREET, SUITE 226,
CHARLOTTE, NC 28204 She is being sued in her official and individual capacities

Defendant, APHJ-RGSE-MM JOHNSON LEWIS LAW FIRM, PLLC is both a “pub]ic entity”
Within the meaning of 42 U.S.C. § 12131(1); and “private entity” within the meaning of 42 U.S.C.
§ 12181(1); and is subject to the ADA and its implementing regulations She is a recipient of
federal financial assistance She is located 101 N. MCDOWELL STREET, SUITE 226,
CHARLOTTE, NC 28204 She is being sued in her business capacity

Defendant, PEGGY THIES, is an independent attorney, member of the NC Bar Association and
Mecklenburg County Bar Association. She is both a “public entity” within the meaning of 42
U.S.C. § 12131(1); and “private entity” within the meaning of 42 U.S.C. § 12181(1); and is
subject to the ADA and its implementing regulations She is a recipient of federal financial
assistance She is located 601 East Fifth Street Suite 510 Charlotte, NC 28202. She is being sued
in her official and individual capacities

DEFENDANT LASHONDA GREENE She is both a “pub]ic entity” within the meaning of 42

U.S.C. § 12131(1)', and “private entity” within the meaning of 42 U.S.C. § 12181(1); and is

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 7 of 48

 

 

 

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subject to the ADA and its implementing regulations She is a recipient of federal financial
assistance She is located 301 Bi]]ingsley Rd, Charlotte, NC 28211. She is being sued in her
official and individual capacities

Defendant,SHANTRELL G, WILLIAMS, is an independent attorney, member of the NC Bar
Association and Mecklenburg County Bar Association. She is both a “public entity” Within the
meaning of 42 U.S.C. § 12131(1); and “private entity” within the meaning of 42 U.S.C. §
12181(1); and is subject to the ADA and its implementing regulations She is a recipient of
federal financial assistance She is located 601 East Fifth Street Suite 510 Charlotte, NC 28202.
She is being sued in her official and individual capacities

Defendant, PATRICIA ANN TUTONE, is an independent attorney, member of the NC Bar
Association and Mecklenburg County Bar Association. She is both a “public entity” within the
meaning of 42 U.S.C. § 12131(1); and “private entity” Within the meaning of 42 U.S.C. §
12181(1); and is subject to the ADA and its implementing regulations She is a recipient of
federal financial assistance She is located 601 East Fifth Street Suite 510 Charlotte, NC 28202.
She is being sued in her official and individual capacities

Defendant, JOHN Pl-I[LIP ZlMl\/IER, is an independent attorney, member of the NC Bar
Association and Mecklenburg County Bar Association. He is both a “public entity” within the
meaning of 42 U.S.C. § 12131(1); and “private entity” within the meaning of 42 U.S.C. §
12181(1); and is subject to the ADA and its implementing regulations He is a recipient of federal
financial assistance He is located 101 N. Tryon Street Suite 1300 Charlotte NC 28246. He is
being sued in his official and individual capacities

Defendant, ROBERT W SlMl\/IONS, is an independent attorney, member of the NC Bar
Association and Mecklenburg County Bar Association. He is both a “public entity” within the

meaning of 42 U.S.C. § 12131(1); and “private entity” within the meaning of 42 U.S.C. §

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 8 of 48

 

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12181(1); and is subject to the ADA and its implementing regulations He is a recipient of federal
financial assistance He is located 601 East Fifth Street Suite 510 Charlotte NC 28202. He is
being sued in his individual and official capacities

Defendant, JOHN J.PARKER, is an independent attorney, member of the NC Bar Association
and Mecklenburg County Bar Association. He is both a “public entity” Within the meaning of 42
U.S.C. § 12131(1); and “private entity” within the meaning of 42 U.S.C. § 12181(1); and is
subject to the ADA and its implementing regulations He is a recipient of federal financial
assistance He is located at 4730 Woodlark Lane Charlotte, NC 28211 He is being sued in his
individual and official capacities

Defendant, LESLEY E GARAFOLA, is an independent custody advocate trained and approved
by CFCR. NC district court appointee and doing business in NC, CFCR advocacy program. She is
a “private entity” within the meaning of 42 U.S.C. § 12181 and its implementing regulation SHE
is both a “public entity” within the meaning of 42 U.S.C. § 12131(1); and “private entity” within
the meaning of 42 U.S.C. § 12181(1); and is subject to the ADA and its implementing
regulations She is a recipient of federal financial assistance She is located at 2020
CHARLOTTE DR CHARLOTTE, NC 28203. She is being sued in her individual and official
capacities

Defendant, DR. CRYSTAL ROSE BULLARD is an independent mental health provider licensed
by the State of North Caro]ina to practice and doing business in North Caro]ina and South
Carolina. She is a “private entity” within the meaning of 42 U.S.C. § 12181 and its implementing
regulation She is both a “public entity” Within the meaning of 42 U.S.C. § 12131(1); and “private
entity” within the meaning of 42 U.S.C. § 12181(1); and is subject to the ADA and its

implementing regulations She is a recipient of federal financial assistance She is a recipient of

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 9 of 48

 

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federal financial assistance She is located at 330 Bi]]ingsley Rd, Charlotte, NC 28211 She is
being sued in her individual and official capacities

Defendant MARIE CURRAN is an independent mental health provider in State of NC and doing
business in MECKLENBURG, North Carolina. She is a “private entity” within the meaning of
42 U.S.C. § 12181 and its implementing regulation, She is both a “public entity” within the
meaning of 42 U.S.C. § 12131(1); and “private entity” within the meaning of 42 U.S.C. §
12181(1); and is subject to the ADA and its implementing regulations She is a recipient of
federal financial assistance She is located at CENTER FOR CREATIVITY & HEALING, PC
4728-C PARK ROAD CHARLOTTE, NC 28209. She is being sued in her individual and official
capacities

Defendant, SHERRY LYERLY-TARNER, MS, LPC, RT is an independent mental health
provider in State of NC and doing business in North Carolina. She is a “private entity” within the
meaning of 42 U.S.C. § 12181 and its implementing regulation She is both a “public entity”
within the meaning of 42 U.S.C. § 12131(1); and “private entity” within the meaning of 42 U.S.C.
§ 12181(1); and is subject to the ADA and its implementing regulations She is a recipient of
federal financial assistance She is located at CENTER FOR CREATIVITY & HEALING, PC
4728-C PARK ROAD CHARLOTTE, NC 28209 and PURE WELLNESS & HEALING 4724-A
Park Road Charlotte, NC 28209.. She is being sued in her individual and official capacities
Defendant, SHEUNESS CUTHBERTSON, BEHAVIORAL HEALTH CLlNlClAN is an
independent mental health provider in State of NC and doing business in North Carolina. She is a
“private entity” within the meaning of 42 U.S.C. § 12181 and its implementing regulation She is
both a “public entity” within the meaning of 42 U.S.C. § 12131(1); and “private entity” Within the

meaning of 42 U.S.C. § 12181(1); and is subject to the ADA and its implementing regulations

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 10 of 48

 

 

 

 

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She is a recipient of federal financial assistance She is located at 330 Billingsley Rd, Charlotte,
NC 2821 1 She is being sued in her individual and official capacities

DEFENDANT PETER SALEM as principal , executive director of AFCC. He is both a “public
entity” within the meaning of 42 U.S.C. § 12131(1); and “private entity” within the meaning of
42 U.S.C. § 12181(1); and is subject to the ADA and its implementing regulations He is a
recipient of federal financial assistance He is located at 6525 Grand Teton Plaza Madison Wl
53719. He is being sued in his individual and official capacities

Defendant ’l`he Association of Family and Conciliation Courts, AFCC, is a “private entity” within
the meaning of 42 U.S.C. § 12181(1); and is subject to the ADA and its implementing regulations
is a world wide organization who generate a revenue by creating programing for problems they
create and sell their solutions as programing and policies in Family Courts around the World.
None of their programing is compliant with ADA/ADAAA and they teach its members how to
circumvent federal laws and Constitutional Principles and Practices with local state rules AFCC
is the Association of Family and Conciliation Courts -the premier interdisciplinary and
international association of professionals dedicated to the resolution of family conflict. AFCC
members are the leading practitioners researchers, teachers and policymakers in the family court
arena who create, train, sell, endorse programming that violated the ADA/ADAAA. lnstead of
resolving conflict, its member inject conffict, do not protect children from abuse or women from

domestic violence lt is obligated to make its facilities and programing accessible and not

discriminatory to people with disabilities Located at 6525 Grand Teton Plaza Madison Wl 5 3719.

AFCC is being sued in its business capacity
DEFENDANT CENTER FOR CREATIVITY & l-[EALING(CFCH) s a “private entity” within
the meaning of 42 U.S.C. § 12181(1); and is subject to the ADA and its implementing regulations

None of their programing is compliant with ADA/ADAAA and they teach its staff how to

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 11 of 48

 

 

 

 

 

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circumvent federal laws and Constitutional Principles and Practices with local state rules lt is
located at 4728-C PARK RD, CHARLOTTE, NC 28209. CFCH is being sued in its business
capacity
DEFENDANT SMITH MOORE LEATI~IERWOOD is a “private entity” within the meaning of 42
U.S.C. § 12181(1); and is subject to the ADA and its implementing regulations None of their
programing is compliant with ADA/ADAAA Supervise JOHN le\/IMER lt is located at 101
North Tryon St ste 1300 Charlotte, NC 28246. lt is being sued in its business capacity
JURISDICTION AND VENUE
This Court has jurisdiction of this action under 28 U.S.C. § 1331, and 42 U.S.C. §§ 12133, 12188
and 1983. The Court may grant declaratory and other relief pursuant to 28 U.S.C. §§ 2201 and
2202. The Court may grant attorney’s fees pursuant to 42 U.S.C. § 12205

Exhibit 1 Prakel v Indiana the court considered whether the son of a criminal defendant was

 

entitled to an ASL interpreter to attend his mother’s court proceeding.86 After noting that Title ll
applied to members of the public and that there is a clear histo;y of the public’s right to attend
criminal proceedings the court concluded that this right is included within Title ll’s protections lt
Was undisputed that the plaintiff required an ASL inte;preter to communicate effectively and that
one was not provided. As a result, the court concluded that the plaintiff was denied effective

communication and the opportunity to enjoy the benefits of the state courts' services, prog;ams,

and activities

The acts and omissions of Defendants giving rise to this action occurred in MECKLENBURG
COUNTY, NC and UNlON COUNTY, NC . Plaintiffs have been situated and aggrieved in
UNlON COUNTY, NC during a substantial portion of the events giving rise to this action,
including present unmitigated harm occurring in this district, making venue proper in this judicial

district pursuant to 28 U.S.C. § 1391.

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 12 of 48

 

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Enforcement by the United States Attorney General is invoked pursuant to 42 U.S.C. §§ 12133
and 12188.

FRCP 5.1. Constitutional challenge to appointing mental health providers or any type of

evaluations into a civil family proceeding FRCP 5.1. Constitutional challenge the CFCR

Does the judge have the power to discriminate against Plaintiff's with disability from

associating with Plaintiif' with disability?

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At all times herein, Plaintiff Brianne Stephens is a female and biological mother of T S S,D G S,
and D S.
The United States Department of Health and Human Services (HHS) and the United States
Department of lustice (DOJ) issued a technical assistance manual in August 2015, stating: “Title
ll of the ADA applies to the services programs and activities of all state and local governments
throughout the United States including child Welfare agencies and court systems The “services,
programs and activities” provided by public entities include, but are not limited to, investigations
assessments provision of in-home services removal of children from their homes, case planning
and service planning, visitation, guardianship, adoption, foster care, and reunification services
“Services, programs and activities” also extend to child welfare hearings custody hearings and
proceedings to terminate parental rights.”
On April 2016 DEFENDANT HON GARY L HENDERSON RULED Plaintiff with disability be
removed from Plaintiff mother primary care due to “PAS”, violating Title ll of the ADA, 42

U.S.C. § 12131 et seq., and its implementing regulations 28 C.F.R. Part 35; Title ]]I of the ADA,

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 13 of 48

 

 

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42 U.S.C. § 12181 et seq., and its implementing regulations 28 C.F.R. Part 36; and Section 504
of the Rehabilitation Act, 29 U.S.C. § 794;

Title ll authorizes suits by private citizens for money damages against public entities that violate §
12132. See 42 U.S.C. § 12133 (incorporating by reference 29 U.S.C. § 794a).

On April 2016 DEFENDANT JOHN PARKER stated “Ms Stephens is an excellent parent” in
open court. Defendant then recommended Minor children TSS,D S be removed from plaintiffs
care based on regarded as having disabilities namely “PAS”, Parent Alienation. Defendant told
Plaintiff, “should something go Wrong with minor children in fathers care he will come back on
my side with a vengeance” DEFENDANT continued to be biased and discriminating against
plaintiffs based on disabilities Recommending and successfully Segregating plaintiffs from each
other based on disabilities.violating Title ll of the ADA, 42 U.S.C. § 12131 et seq., and its
implementing regulations 28 C.F.R. Part 35; Title I]l of the ADA, 42 U.S.C. § 12181 et seq., and
its implementing regulations 28 C.F.R. Part 36; and Section 504 of the Rehabilitation Act, 29
U.S.C. § 794

Defendant JOHN PARKER ON March 29, 2017 court rm 8130 abruptly withdrew from
representing minor Plaintiff TSS discriminating based on disabilities denying plaintiffs good
services and left minor Plaintiff without legal representation Then recommended segregating
plaintiffs Used coercion, intimidation toward Plaintiffs with disabilities violating Title ll of the
ADA, 42 U.S.C. § 12131 et seq., and its implementing regulations 28 C.F.R. Part 35 ; Title lll of
the ADA, 42 U.S.C. § 12181 et seq., and its implementing regulations 28 C.F.R. Part 36; and
Sec`tion 504 of the Rehabilitation Act, 29 U.S.C. § 794

Plaintiffs, noted in the “associated cases” filed similar complaints of disability discrimination and

other acts prohibited by The Americans with Disabi]ities as Amended Act. (ADA/ADAAA) ln

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 14 of 48

 

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their complaints all Women claimed same causes of action under ADA/ADAAA and 504 and
included in their cause of action “and those similarly situated.”

Plaintiffs are similarly situated.

In APRlL 2007, Ms BRIANNE STEPHENS obtained an approved Parental Contract Agreement
concerning TSS,D S minors The Court of lustice signed an order approving Parent Contract
Agreement, agreed and signed by both parents approving minor children TSS,D S, will reside
primarily and in the care of MS BRIANNE STEPHENS.

DEFENDANT HON GARY L HENDERSON Was my child support enforcement attorney 7/2007
He should have recused himself from this custody proceeding lnstead Defendant discriminated
against plaintiffs with disabilities and regarded as having disabilities and subsequently ruled
biased against Plaintiffs based on disabilities Plaintiffs were denied honest goods and services
because we Were disabled/presumed disabled on the backs of disabled Plaintiffs."

According to the U.S. Dept. of Justice, gender bias against women in child custody proceedings is
prevalent. (Saunders’ report, 2012).

The Association of Family and Conci]iation Courts (AFCC) promotes the use of “PAS” and use
of mental diagnosis and other mental health accusations against mothers and children in family
courts

lt is the policy of the State of NC and its agencies to use PAS, depression, physical disabilities and
other mental health accusations against women and children in family court proceedings This
policy has a disparate impact that adversely affects women and children

The State of NORTH CAROLINA et al., failed to inform Ms. Brianne Stephens of their policy to
give preferential treatment to fathers, and that they were acting out of financial motivation, to
obtain professional fees and federal “access” grants via The Healthy Maniage and Responsible

Fatherhood (HMRF) initiative

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 15 of 48

 

 

56. Because Defendants regarded Ms. Brianne Stephens as having of PAS, Depression the court was
biased against her according to this sex-based stereotype. As a result, Plaintiffs could not fully
and equally participate in court proceedings

57. Defendants did not refer Plaintiffs to a disability accommodations coordinator at the courthouse or at
any other location, during the pendency of the family court proceedings nor offer accommodations to
the Plaintiffs AS a result, Plaintiffs could not fully and equally participate in court proceedings

58. Title ll entities have not completed self-evaluations for any of the program, policies interagency
agreements that the plaintiffs Were forced to use lf such evaluations took place, harm could have been
mitigated per § 35.105 Self-evaluation. Part (d) of this section is important because most entities
purport that they did self-evaluations in 1993. However, the law changed twice, and evaluations that
take in consideration these changes show a good faith effort on the entity’s beha]f. This is not the case
here (d) If a public entity has already complied with the self-evaluation requirement of a regulation
implementing section 504 of the Rehabilitation Act of 1973, then the requirements of this section shall
apply only to those policies and practices that Were not included in the previous self-evaluation

59. Defendants faked the existence of a mental health impairment, namely “PAS,” Parental alienation as a
cause of action for segregating Plaintiffs’.

60. Defendants stereotyped and stigmatized Ms Brianne Stephens and repeatedly acted on assumptions
about Ms. Brianne Stephens mental impairment

61. Defendants perpetuated the use of “PAS, Parent Alienation, as a real syndrome to prejudice Ms. Brianne
Stephens and other women in the family courts

62. DEFENDANT MARIE CURRAN presenter (parental alienation) for volunteer training for custody
advocates at Council for Children Rights, founding committee for AFCC NC chapter failed to inform
Plaintiff of Parent Alienation agenda used by Courts CFCR and employee DEFENDANT Sl-IERRY

LYERLY TARNER

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 16 of 48

 

 

63. State and Federal laws such the Health lnsurance Portability and Accountability Act of 1996 (HlPAA)
provide that an individual has the right to privacy and nondiscrimination the right to choose and decline
their own healthcare providers the right to a trusting relationship with their mental healthcare providers
and the right to lnformed Consent.

64. Further, the Fourth Amendment protects the right to privacy, and the Fifth Amendment protects a person
from being compelled to incriminate oneself in such evaluations or therapy ordered by the court.

65. DEFENDANT Shantrell G. Williams on 8/19/2014 stated she called my children's therapist. Therapist
then called Plaintiff back upset and cancelled our lst intake appointment Then Shantrell Williams
coerced Plaintiff into choosing DEFENDANT Sherry Lyerly Tarner who is trained and supervised by
DEFENDANT MARlE CURRAN the presenter (parental alienation) for volunteer training for custody
advocates at Council for Children Rights founding committee for AFCC NC chapter.

66. DEFENDANT JOHN PARKER DEFENDANT JOHN PHlLLlP ZIMMER harassed and coerced
Plaintiff to cancel my child's existing therapy appointments at Daymark 8/12/2014 Defendants forced
or coerced Plaintiffs into several evaluations where their mental health was questioned by providers Ms
Brianne Stephens did not choose and to whom she specifically objected in open court due to lack of
trust. Moreover, Plaintiffs mental health was discussed in open court. This created a hostile
environment for the Plaintiffs.

67. Ms Brianne Stephens also has manifested Anxiety, Acute Stress Disorder (ASD) leads to PTSD since
removal of child D S. She has received treatment accordingly

68. From 2014 - present, NC and Mecklenburg County Court has r_egar_ded Plaintiffs as each having one or
more mental health disabilities mainly “Parental Alienation Syndrome, Parent Alienation, Depression
and Physical Disability and at no time did the obligated defendants offer accommodations or reasonable

modifications to Ms BRIANNE STEPHENS .

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 17 of 48

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Ms BRIANNE STEPHENS is a qualified individual with disabilities Within the meaning of 42 U.S.C.
§§ 12102 and 12131(2).

T S S, D S, andD G S are qualified individuals with disabilities within the meaning of 42 U.S.C. §§
12102 and 12131(2).

“PAS, Alienation ” theory places a sex-based stereotype on women

According to the American Psychological Association (APA), there is no reliable empirical data to
support the so-called phenomenon of “Parental Alienation Syndrome.” Or alienation This “syndrome”
and similar ones are used almost exclusively against women

The APA has repeatedly dismissed theory of “Parental Alienation Syndrome” for inclusion in the
Diagnostic and Statistical Manual of Mental Disorders.

According to the U.S. Dept. of lustice, gender bias against women in child custody proceedings is
prevalent. (Saunders’ report, 2012).

The Association of Family and Conciliation Courts (AFCC) promotes the use of “PAS” and other
mental health accusations against mothers and children in family courts

ln 2015 HON GARY L HENDERSON also ordered Plaintiffs’ with disabilities into custody
evaluations with SHERRY LYERLY-TARNER, MS, LPCA to assess them. The court ordered Ms.
Brianne Stephens to bring children to sessions costing approximately $1,580.00 for the cost of travel to
Mecklenburg County from Union County, to the evaluator; and this was a forced and coerced
contract.and it was bc you Were disabled/presumed disabled

The NC Court did not inform Ms. Brianne Stephens who the evaluator would be, nor if this court
appointee was vetted by the State of NC to comply with ami-discrimination statutes

SHERRY LYERLY-TARNER, MS, LPCA grilled Ms. Brianne Stephens and the children CFCR

COURT APPOINTEES used SHERRY LYERLY-TARNER, MS, LPCA reports to formulate their

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 18 of 48

 

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report that states that Ms. Brianne Stephens and the children had mental health issues relating to PAS, l
Depression, Anxiety inter alia. ri
DEFENDANT SHERRY LYERLY TARNER Blocked services to have co-parenting sessions lnstead `
met to drill questions for CFCR. asking “Is it ok to audio tape sessions for my supervisor,”
DEFENDANT MARIA CURRAN. On court exhibit SHERRY LYERLY TARNER typed
ALIENATING five times in her report. Supporting the regarded “PAS” disability agenda used by CFCR
and Courts

DEFENDANT SHERRY LYERLY TARNER followed training from Supervisor DEFENDANT
MARIA CURRAN presenter (parental alienation) for volunteer training for custody advocates at
Council for Children Rights, founding committee for AFCC NC chapter as a result Plaintiffs were
denied honest goods and services

From 2014 COURT EMPLOYEES AND COURT APPOINTEES discussed Ms. Brianne Stephens
mental health with her therapist and medical records with her doctor, which in tum, they used against

her and included in their written reports These reports were provided to the Court and Ms Brianne

 

Stephens childrens father, and discussed in open court.

Throughout most of the custody proceedings Ms. Brianne Stephens and the child T S S with disabilities
and regarded as having disabilities were underrepresented because CFCR abruptly withdrew 3/29/2017
from representing T S S because she would not go along With their fake “PAS” agenda l could not
afford an attorney to represent both and the court discriminated against and refused to re-appoint an
attorney, for the child T S S to protect her interests

“Threats to disclose or disclosure of disabled litigants’ confidential information is a form of
discrimination and violates the Constitutional right to privacy The Constitution provides that no state
shall deny to any person within its jurisdiction the equal protection of the laws and provides for Due

Process of law. Disabled Litigants’ right to confidentiality is inherent in the ADA/ADAAA statutory

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 19 of 48

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scheme as well is protected under several federal and state laws including the Health lnsurance
Portability Act (I~llPAA). ’l`he ADA/ADAAA applied in conjunction with other federal laws provides
protection at a level greater or equal to that provided by other federal and state laws and prevails over
any conflicting the ADA/ADAAA” ADA Title ll Technical Assistance Manual, lI-1.4200.

This includes manifestation of PTSD, courts falsely accused Plaintiff of a history of abuse are
manifestations of Ms. Brianne Stephens actual disability of Sjogren's Disease, Scleroderma, Partial
Blindness Digestivedisorder.

The defendants’ actions and inactions, most relevant are the prohibitions of 42 USC 12203 clear
violation of Title 42 U.S.C. § 12203, a prohibition against interference coercion, intimidation and
threatening;, which grossly manifested into physiological symptoms including nausea and nervous
stomach. Ms. Brianne Stephens was visibly ill and under duress; had difficulty breathing, chills fin like
symptoms and had to medicate herself was unable to cope and communicate effectively in court; and
unable to fully understand the proceedings

The State and its agencies did not inform Ms Brianne Stephens if this SHERRY LYERLY-TARNER,
MS, LPCA and DEFENDANT MARIA CURRAN was vetted by the State of NC to comply with
anti-discrimination statutes

The State of NC et al did not provide Ms Brianne Stephens a full and equal opportunity to benefit from
its services in support of reunification with her children

DR C BULLARD, SHEUNESS CUTHBERTSON ON 11/1/2017 PURPOSELY DENIED plaintiff
FAM]LY THERAPY NIGHT HELD DURlNG D S PARTIAL HOSPITALIZATION FROM OCT 17,
2017 -NOV 7, 2017 denying Plaintiff right to therapy/services

DEFENDANT JOHN PHILLlP ZIMMER on 10/2014 coerced Plaintiff under duress to change our visit

schedule, however l didn't agree to an open period in our parental Parent Contract. l never gave

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 20 of 48

 

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permission to destroy our parental contract agreement that kept Plaintiff and children safe, gave us a
sense of stability and emotional Well being. l would never ever allow those to be taken from us
DEFENDANT LASHONDA GREENE, On JULY 3, 2017 failed to offer services through the
department.Discriminated against plaintiffs with disabilities and failed to keep minor plaintiff safe
Plaintiff with disability then hospitalized after being left in care of at-risk Fathers home.caseworkers are
not only corrupt, but also incompetent; the State fails to train them adequately to protect children
lnstead they employ threats and manipulation which happened here

The NC, DSS, CFCR are obligated to make reasonable efforts to maintain the family unit and to prevent
the unnecessary removal of a child from his or her home.They did not make those efforts in regard to
Plaintiffs. Plaintiffs were denied honest goods and services on the backs of disabled plaintiffs

The State of NC and its agencies are inaccessible to Plaintiff Brianne Stephens

Because the Defendants exploited Plaintiffs’ disabilities it has rendered Brianne Stephens diagnoses
ASD leads to PTSD so severe that she does not trust them, has lost faith in the legal system, and cannot
effectively communicate with them to retrieve and access her child.

Ms. Brianne Stephens has experienced physiological impairments accompany in PTSD that negatively
affect major life activities and bodily functions - significant loss of sleep, depression, anxiety, difficulty
concentrating, and difficulty breathing, inter alia. MsBrianne Stephens has had to seek a significant
amount of medical treatment to mitigate her condition (i.e Dr visits therapy, medications).

ASD leads to PTSD is not curable The duration and manifestations of Ms Brianne Stephens ASD,
ASD leads to PTSD are greater than six (6) months and are lifelong. Studies consistently show that
individuals with ASD leads to PTSD have an increased risk of dying from coronary heart disease
Defendants have failed to mitigate the ongoing harm complained of herein

Plaintiffs’ reserve the right to expand these proceedings

Plaintiffs’ reserve the right to include Defendants

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 21 of 48

 

CAUSE OF ACTION
_C_QUN_TI
VIOLATIONS OF PROTECTION PROVIDED BY TITLES II AND III OF
TI-[E AMERICANS WITH DISABILITIES ACT

99. Paragraphs prior are re-alleged and reasserted as if fully set forth here

100. Brianne Stephens is an individual with Scleroderma, Sjogrens Partial Blindness; and regarded by
Defendants as an individual having “PAS” and Depression, She required appropriate individualized
treatment and accommodations necessary to ensure full and equal access to court proceedings
concerning her parental rights and the custody of her minor children D S and T S S.; accordingly she is
a qualified individual with a disability as defined by 42 U.S.C. §§ 12102 and 12131(2). ASD leads to,
PTSD is listed under “predictable assessments” under the ADA and its implementing regulation
Plaintiff’s disabilities must be assessed without regard to mitigating measures

101. T S S and D S are two minor children r_egm by Defendants as individuals having “PAS.”
Anxiety, Depression 'l`hey required appropriate individualized treatment and accommodations
necessary to ensure full and equal access to court proceedings concerning their custody and their
mother’s parental rights; accordingly they are each a qualified individual with a disability as defined by
42 U.S.C. §§ 12102 and 12131(2). Plaintiffs’ disabilities must be assessed without regard to mitigating
measures

102. Because the actions complained of herein occurred from 2014 to present, the greatly expanded
definition of the ADA Amendments Act of 2008, Final Rule of 2016, and parallel State law changes
apply

103. Ms. Brianne Stephens actual disabilities SjogrensScleroderma, anxiety, ASD, ASD leads to PTSD

disabilities fall under actual physical and mental impairment/psychiatric injury and physiological

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 22 of 48

 

impairment, which substantially limit one or more major life activities Ms. Brianne Stephens has
records of such impairments

104. Plaintiffs’ “PAS” and Depression disabilities fall under the greatly expanded regarded as prong of
the ADA. Ms Brianne Stephens has court records of such perceived mental impairments

105. Major life activities and substantial limitations are to be construed as broadly as possible under the
ADAAA and its implementing regulations

106. Under the ADAAA, “major life activities” include “major bodily functions .”

107. Plaintiffs do not have to identify any major life activity or bodily functions that are substantially

limited, under the ADAAA and its implementing regulations but have

108. Defendants have subjected Plaintiffs to an ongoing mental war zone from 2014 - present_ The U.S.

military does not send any personnel on a tour lasting over 278 days as it is found to cause harm.

109. Each day that passes adds incremental harm. Ms Brianne Stephens ASD leads to PTSD cannot be
treated until the ongoing trauma ends A mitigating measure and remedy would require the restoration
of Plaintiff child D S to Plaintiff mother, and siblings per enforcement of the PARENTAL CONTRACT
AGREEMENT.

110. Defendants have failed to mitigate the harm they have done to Plaintiffs’.

1 1 1. Unmitigated harm is a continuing cause of action

112. Defendants State of North Caro]ina court STATE OF NORTH CAROLINA, OFFICE OF THE
ATTORNEY GENERAL OF STATE OF NORTH CAROLINA; NORTH CAROLINA
ADM]NISTRATIVE OFFICE OF THE COURTS; NORTH CAROLINA JUDlClAL BRANCH of
MECKLENBURG COUNTY SUPERIOR COURT; HON MARK MARTIN in his official and
individual capacity; HON GARY L. HENDERSON, in his official and individual capacity as ludge of

the Mecklenburg County District Court; ASSOClATlON OF FAMILY AND CONCILIATION

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 23 of 48

 

 

COURTS (AFCC); COUNCIL FOR CHILDREN’S RIGHTS (CFCR); BOB SIMMONS, in his official
and individual capacity;.MECKLENBURG COUNTY DEPARTMENT OF SOCIAL SERVICES

113. CHILD PROTECTIVE SERVICES; are a government or a department, agency or other
instrumentality of a State or states or local government; accordingly Defendants are public entities as
defined in 42 U.S.C. § 12131(1).

114. Defendants SHERRY LYERLY-TARNER, MARIE CURRAN CRYSTAL ROSE BULLARD,
SHEUNESS CUTHBERTSON, JOHN PHILLIP ZIMl\/.[ER, JOHN PARKER, PEGGY THIES,
PATRICIA ANN TUTONE, BRETT CHRISTOPHER HOLLADAY, ANN ROSE MARIE JOHNSON
LEWIS, LESLEY GARAFOLA are private entities within the meaning of 42 U.S.C. § 12181.

115. Defendants are subject to both Title ll and Title lII of the ADA because of contractual
arrangements

116. Title H of the ADA, 42 U.S.C. § 12132, provides that “no qualified individual with a disability shall,
by reason of such disability, be excluded from participation in or be denied benefits of the services
programs or activities of a public entity or be subjected to discrimination by any such entity”

117. Title lll of the ADA, 42 U.S.C. § 12182, provides that: “No individual shall be discriminated
against on the basis of disability in the full and equal enjoyment of the goods services facilities
privileges advantages or accommodations of any place of public accommodation by any person who
owns leases (or leases to), or operates a place of public accommodation.”

118. Title ill of the ADA, 42 U.S.C. § 12182(b)(1)(A)(ii), provides that: “lt shall be discriminatory to
afford an individual or class of individuals on the basis of a disability or disabilities of such individual
or class directly or through contractual, licensing, or other arrangements with the opportunity to
participate in or benefit from a good, service facility privilege advantage or accommodation that is not

equal to that afforded to other individuals.”

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 24 of 48

 

 

 

 

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119. Defendants removed Ms. Brianne Stephens child D S from her custody no contact and effectively
de facto terminated her parental rights based on regarding her as having “PAS”, Alienation, Depression
and the sex-based stereotype of that “mental impairment”; and based on Ms. Brianne Stephens ASD
leads to PTSD and assumptions about this mental impairment As a result, TSS D S, and D G S have
been discriminated against on the basis of their association with an individual with a disability

120. Defendants and DEFENDANT BRETT CHRISTOPHER HOLLADAY have intentionally
discriminated against Plaintiffs as qualified individuals with disabilities on the basis and stereotypical
assumptions of those disabilities and through contractual arrangements in the full and equal
opportunity of their services programs activities facilities privileges advantages and
accommodations in violation of Title ll of the ADA, as amended, 42 U.S.C. § 1213 1 et seq., and its
implementing regulation at 28 C.F.R. Parts 35; Title lll of the ADA, as amended, 42 U.S.C. § 12181 et
seq., and its implementing regulation at 28 C.F.R. Parts 36, by, inter alia:

121. DEFENDANT LASHONDA GREENE caseworkers are not only corrupt, but also incompetent; the
State fails to train them adequately to protect children with disabilities lnstead they employ threats and
manipulation which happened here Denying Plaintiffs’ the opportunity to participate in or benefit from
Defendants’ services programs activities facilities privileges advantages and accommodations in
violation of 28 C.F.R. § 35.130(b)(1)(i); and 28 C.F.R. §§ 36.201, 36.202, and 36.203.

122. DEFENDANTS ANN ROSE LEWIS JOHNSON used delayed tactics that prevented the case from
being heard in a timely manner. Denying Plaintiffs With disabilities and regarded as having disabilities
an opportunity to participate in or benefit from Defendants’ services programs activities facilities
privileges advantages and accommodations that is not equal to that afforded to Ms. Brianne Stephens

children's father in violation of 28 C.F.R. § 35.130(b)(1)(ii); and 28 C.F.R. §§ 36.201, 36.202;

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 25 of 48

 

 

123. On December 6 and 7, 2018 Defendants ANN ROSE LEWlS JOHNSON falsihed facts and law to
benefit themselves financially harass and oppress Plaintiffs with regarded as having disabilities put
children with disabilities in crisis inffict emotional distress upon Plaintiffs

124. Lirniting Plaintiffs in the enjoyment of the rights privileges advantages or opportunities enjoyed
by Ms. Brianne Stephens children's father, in violation of 28 C.F.R. § 35.130(b)(1)(vii); and 28 C.F.R.
§§ 36.201, 36.202;

125. Utilizing criteria or methods of administration that had the effect of subjecting an individual with a
disability to discrimination on the basis of disability or that have the purpose or effect of defeating or
substantially impairing accomplishment of the objectives of Defendants’ services programs and
activities with respect to individuals with disabilities in violation of 28 C.F.R. § 35.130(b)(3); and 28
C.F.R. §§ 36.301(a) and 36.204;

126. On lanuary 30, 2017 DEFENDANT JOHN J. PARKER emailed PLAINTIFFS’ atty DEFENDANT
BRETT HOLLADAY indicating that CFCR Want to proceed with a psychological evaluation through
Monarch for PLAINTlFF. JOHN J. PARKER asked that BRETT HOLLADAY draft the Order. these
activities selecting vendors forcing/coercing Plaintilfs into, and entering into, contractual arrangements
to be used to evaluate Plaintiffs’ mental health that had the effect of excluding Plaintiffs from, denying
them the benefits of, or otherwise subjecting them to discrimination and disparate treatment or that
have the purpose or effect of defeating or substantially impairing the accomplishment of the objectives
of Defendants’ services programs and activities with respect to individuals with disabilities in
violation of 28 C.F.R. § 35.130(b)(1)(v) and (b)(4); and 28 C.F.R. §§ 36.201, 36.202, and 36.203.

127. DEFENDANT BRETT CHRISTOPI-[ER HOLLADAY FAlLED TO ADDRESS persona
jurisdiction or inform PLAINTlFF of Disability Court Coordinator knowing Ms Brianne Stephens
had disabilities and was regarded as having “PAS” disabilities by DEFENDANTS. Plaintiff asked

if she could use UNION county courts since we lived and went to school there and was told “No”

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 26 of 48

 

by DEFENDANT HOLLADAY. Ms Brianne Stephens Was forced to commute from UNlON
county to Mecklenburg County Court Defendant BRETT HOLLADAY’S actions and inactions
lead to further harm to Plaintiffs needs of persons with disabilities in violation of 28 C.F.R. §
35.130(d); and 28 CFR 36.203

128. Failing to make reasonable modifications in policies practices or procedures when the
modifications are necessary to avoid discrimination on the basis of disability, unless the Defendants can
demonstrate that making the modifications would fundamentally alter the nature of the service
program, or activity in violation of 28 C.F.R. § 35.130(b)(7); and 28 C.F.R. § 36.302;

129. failing to administer Defendants’ services programs and activities in the most integrated setting
appropriate to the needs of persons with disabilities in violation of 28 C.F.R. § 35.130(d); and 28 CFR
36.203;

130. failing to operate Defendants’ services programs activities and facilities so that, when viewed in
its entirety it is readily accessible to and usable by mothers and their children in the most integrated
setting appropriate in violation of 28 C.F.R. §§ 35.150 and 35.151; and 28 C.F.R. § 36.203;

131. refusing to offer and provide appropriate individualized treatment and accommodations necessary to
ensure full and equal opportunity for Ms Brianne Stephens and her children to participate in
Defendants’ programs services and activities;

132. stereotyping and stigmatizing Ms. Brianne Stephens and repeatedly acting on assumptions about
Ms. Brianne Stephens’s disabilities in violation of 28 C.F.R. § 35.130(h); and 28 C.F.R. § 36.301(b);

133. perpetuating the use of “Parental Alienation Syndrome, parental alienation Past depression to
discriminate Plaintiff and children from associating with each other. They discriminated against
Plaintiff from associating with child partially based on Munchausen By Proxy (fake history) given by

children’s father, also used undiagnosed “PAS” as a real syndrome to prejudice Ms. Brianne Stephens

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 27 of 48

 

and other women in the family courts in violation of 28 C.F.R. § 35 .130 (b)(l)(v); and 28 C.F.R. §
3 6. 3 0 1 ;

134. excluding or otherwise denying equal services programs or activities to an individual or entity
because of the known disability of an individual With whom the individual or entity is known to have a
relationship or association in violation of 28 C.F.R. 35 .130(g);

135. Defendants included children’s father and girlfriend (now ex-girlfriend) in family sessions while
excluding or otherwise denying PLAINTIFF mother of equal services

136. depriving the Plaintiffs of their honest services;

137. blocking or otherwise denying representation by an attorney for Plaintiffs TSS to protect her rights;

138. DEFENDANT HON GARY L HENDERSON RULED, on 1/2/2018 PLAINTIFF used supervised
visits to pray with son then discontinued all visits de facto ten months Intentionally discriminating
against Plaintiffs gSEE EXHlBlT A EMAIL RULING) §SEE EXHlBl'l` B ORDER) violating Title ll of
the ADA, 42 U.S.C. § 12131 et seq., and its implementing regulations 28 C.F.R. Part 35; Title lll of the
ADA, 42 U.S.C. § 12181 et seq., and its implementing regulations 28 C.F.R. Part 36; and Section 504
of the Rehabilitation Act, 29 U.S.C. § 794;

139. segregating Plaintiffs from each other based on disability;

140. effectively de facto terminating Ms Brianne Stephens parental rights AND CUSTODY based on
disability and regarded as having disabilities ;

141. retaliating against Plaintiffs in violation of 28 C.F.R. 35.134; DEFENDANT HON GARY L
HENDERSON RULED MS Brianne can attend school activities 11/2016. When MS Brianne Stephens

attended school activity 2/2017, court ruled no wrongdoing on 3/29/2017. Later ruled 1/2/2018
violation for attending school activity Court discriminated against Ms Brianne Stephens with
disability, from associating with child D S with disability

142. failing to mitigate the harm that continues through present

Case 3:18-cV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 28 of 48

 

 

lames,

| believe the below email Was sent to me in error. Thanks.

 

 
  

Brett
Brett Holladay
Attorney
M l L l_ E R
M \ B e o w t E s
L AW

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From: Calhoun, Guldeste T. |mailto:Guldeste.T.Ca|houn@nccourts.org]
Sent: Tuesday, January 02, 2018 2:58 PM

To: Parker, John; Tarik Shah; Ann Rose Johnson Lewis

Cc: John Zimmer; Lesley Garafola; Brett Holladay

Subject: Decision on Stephens vs. Shah matter 02cvd20573

Good afternoon AI|,

| hope you all had a great holiday! Please see belowludge Henderson's decision on Stephens vs. Shah matter
02cvd20573.

This is undoubtedly the most difficult custody case that | have dealt with. Unfortunately, this custody case
has become one of life and death for this young man and l am left with no choice but to accept most of the
recommendation from CFCR. |nterestingly, CFCR made a recommendation in |Vlarch 2016 for primary custody
to be with father and for mother to have alternating weekends The Court chose to deviate from this
recommendation because mother appeared to be a loving parent and the Court had hope and faith that with

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 29 of 48

 

 

 

 

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a. 50/50 schedule mother would began to accept father as an equal parent and work towards co-parenting
together. Unfortunate|y, it appears mother has squandered that opportunity and we have a child who in
early 2016 Was doing well and simply wanted to spend more time With his father to now a child who has
made several suicide attempts and who is having mental and emotional issues Even though l still struggle
with the drastic recommendation to remove mother from the child's life altogether, because this has become
a case of life and death for this young man, l find that the recommendation is in the child's best interests at
this time. However, l differ with the recommendation in terms of it being a permanent order. |nstead, |
would like to make this a temporary order and come back in roughly 10 months to see (1) how the child is
doing and (2) how mother is doing with individual counseling (to address her interactions with the child). l
contemplated a 6 month schedule and then reuniting mother and child through a reunification therapist, but
there is just no telling whether the child will be ready in that time frame So, | thought it better for the child
to have a longer period of time (10 months +-) and then we come back to see Where he is and then | can hear
evidence and determine a time frame and method of reunification. Attorneys Thies and Tutone are to draft
the order consistent With CFCR recommendation with the above modification and including findings
consistent With the evidence presented at trial. Such findings should include but are not limited too:

- The child las been diagnosed with adjustment disorder with mixed anxiety and depressed mood

The child has 3 major stressors: (1) the custody conflict between his parents, (2) bullying/picking at
school and amongst his peers, and (3) feeling unwanted based on statements his mother has made
regarding circumstances of his birth and his father

- lt appears, based on the child's medical and treatment records that the bullying at school is the
predominant factor for his suicidal attempts although the other two factors play a significant
contributing role as well.

- Mother has exercised all of her visitations when allowed and she seeks to keep child engaged with
her and his siblings Unfortunate|y, it also appears that mother uses these visitations to impose her
religious and personal beliefs upon the child which creates pressure and internal conflict With the
child. The child has at times removed himself from the visitations because of this pressure and
internal conflict

- l\/|other testified that she recently voluntarily underwent a psychological evaluation and that there
were no recommendations However, roughly 10 years ago she did have to go to behavioral health
and Was diagnosed with depression

- |n violation of the spirit of the temporary custody order, mother when to the child's school on
2/23/17 to visit with the child. Mother claimed she went to the school to volunteer in the library but
two school administrators testified to no recollection of mother ever having volunteered at the school
in the past. l\/lother found her Way to the cafeteria during the time of the child's lunch and had a brief
encounter with him. After this encounter, the child immediately had another suicidal episode

- Testimony and notes from Child Psychologist, Dr. Christal Bullard, who treated the child while in
Behavioral Health, find that the child has a history of physical and mental abuse by mother. ln his
current mental state, the triggers of the school bullying/pressure along with mother are too much for
the child do deal with at one time.

Again, | struggle With this decision, but it is about doing what is best for the child at this point in time and not
about parent’s individual rights l am hopeful that the child will progress to the point where he can once
again have both parents in his life But, that involvement must be positive and not another factor in lessening
his mental state. Thank you.

Gary L. Henderson, Judge

District Court Judge, Mecklenburg County
832 E. 4“‘ street, suite 9500

Charlotte, NC 28202

7043-686-0101 T

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 30 of 48

 

  

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sTATE oF NORTH CAROLINA :n\i THE GENERAL COURT OF JUSTICE
§ -=.. ,DISIBICT coURT DIvIsIoN
COUNTY oF MECKLENBURG 02 CVD-20573(GLH)
2313 fEB-S r-"`J 2 2
BRIANNE STEPHENS,
fl`l'l..l.|l|\s_i_ J 1113 v | `\J \) C
Plaintiff/Mother, 3 `/
" l...`._mm Wam_“_m‘;m_a__*
vs. TEMPORARY CHILD CUSTODY oRDER
TARlK sHAH,
Defendant/Father.

 

 

This matter was before the court on December 6 and 7, 2017, for hearing on (1) Plaintiff’ s
(“Mother”) Motion to Modify Child Custody and for Attorney’s Fees and (2) Defendant’s (“Father”)
Motion to Modify Child Custody and for Attorney’s Fees concerning custody of the minor child
Douglas Stephens (“the child”). Mother was present with her attorneys l ames Epperson and Amber

Morris of Epperson Law, PLLC. Father was present with his attomey, Ann-Rose Johnson-Lewis of
Johnson Lewis Law Firm, PLLC. Peggy Thies Patti Tutone, and John Zirnrner, the child’s best
interest attorneys and Lesley Garafola, his custody advocate all affiliated with Council for Children’s
Rights (“CFCR”), were also present Having heard and considered the-evidence and the arguments of

counsel, the Court makes the following findings of fact and conclusions of law and enters the

 

following order.
F]ND]NGS OF FACT
1. Mother is a citizen and resident of Matthews Union County, North Carolina, and has
been for more than six months preceding the institution of this action
2. Father is a citizen and resident of Charlotte, Mecklenburg County, North Caro]ina, and
has been for more than six months preceding the institution of this action

3. Mother and Father were never married to each other.

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 31 of 48

2 ,@@-

4. Mother and Father are the parents of two minor children: Tangerae Stephens Shah, born
October 30, 2000, and Douglas Stephens born November 4, 2004 (together, “the minor children”).
Custody of Tangerae is not presently at issue in this action

5. A Permanent Child Custody Order was entered on April 15, 2016, awarding (l) joint
physical custody of the child on a week-on Week-off schedule subject to certain exceptions for
holidays and special occasions and (2) joint legal custody of the child with Mother having the final say
as to educational decisions and Father having the final say concerning medical decisions

6. On October 26, 2017, both parties filed Ex Parte Motions for Temporary Emergency
Custody following two suicide attempts by the child that resulted in his hospitalization at Carolinas
HealthCare Systems Behavioral Health-Charlotte (“BHC”).

7. After a hearing on November 10, 2016, the Court entered an Emergency Order for
Temporary Child Custody on December 21, 2016, granting primary physical custody of the child to
Father and three hours of supervised visitation per week to Mother.

8. On February 3, 2017, Father filed a Motion to Modify Custody requesting that the Court
make the December 21, 2016 Emergency Temporary Custody Order a permanent order.

9. On March 2, 2017, Father filed another Ex Parte Motion for Emergency Child Custody

10. On March 9, 2017, the court entered an Order granting Father’s Ex Parte Motion for
Emergency Child Custody based on the court’s findings that the child was in psychological and
emotional distress and had recently attempted to harm himself immediately after an unauthorized visit
by Mother to his school. The court awarded temporary sole physical custody of the child to Father and
no visitation to Mother pending further hearing on the matter. The court set a hearing for March 29,

2017.

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 32 of 48

 

 

1 1. At the March 29, 2017 hearing, the court heard limited evidence regarding Mother’s visit
to the child’s school on February 23, 2017.

12. On April 28, 2017, the court entered an Amendment to Emergency Order for Temporary
Child Custody providing that both parties have complete access to all school information and the right
to participate in school conferences but that Mother not be present at the school except for school
conferences

13. On May 26, 2017, the court entered the Order resulting from the March 29, 2017 hearing,
denying Father’s Emergency Custody Motion and vacating the Ex Parte Emergency Custody Order.
The Order restored the parties’ custodial rights and responsibilities pursuant to the December 21, 2016
Temporary Custody Order as amended in the April 28, 2017 Amendment to the Emergency Order for
Temporary Child Custody

14. At the present trial, the court reviewed medical records and notes from the child’s various
admissions to BHC since the last Permanent Custody Order, including (1) from October 26, 2017
through October 30, 2017 following two suicide attempts at Father’s home; (2) from March 1, 2017
through March 3, 2017 after the child attempted to cut himself twice after Mother’s surprise visit to the
school; (3) for a psychological assessment on September 10, 2017 based on the child’s statements to
his therapist, Jude Johnson, that he Was tired of being bullied and wanted to shoot up his school;
(4) from September 17, 2017 to September 28, 2017 after the child expressed suicidal thoughts to
Mother during a supervised visit; (5) for a psychological assessment on October 9, 2017 afier the child
expressed depression and passive suicidal thoughts to a teacher; and (6) from October 17, 2017
through November 7, 2017, for a partial-hospitalization day treatment program to address ongoing

mental health issues

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 33 of 48

 

 

 

 

 

 

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15 . The court heard testimony from Dr. Crystal Bullard, who treated the child during the
partial-hospitalization program at BHC.

16. The child has been diagnosed with adjustment disorder with mixed anxiety and
depressed mood.

17. The child has three major stressors: (1) the custody conflict between his parents;

(2) bullying or being picked on at school and amongst his peers; and (3) feeling unwanted based on
statements Mother has made regarding the circumstances of the child’s birth and Father.

18. lt appears based on the child’s medical and treatment records that bullying at school is
the predominant factor for his suicide attempts although the other two factors play a significant
contributing role as well.

19. Mother has exercised all of her visitations when allowed and she seeks to keep the child
engaged with her and his siblings Unfortunately, it also appears that Mother uses these visitations to
impose her religious and personal beliefs upon the child which creates pressure and internal conHict
with the child. The child has at times removed himself from visitations because of this pressure and
internal conflict

20. Mother testified that she recently voluntarily underwent a psychological evaluation and
that there were no recommendations however, roughly 10 years ago she did have to go to BHC and
was diagnosed with depression

21. ln violation of the spirit of the Temporary Custody Order, Mother went to the child’s
school on February 23, 2017 to visit with the child. Mother claimed she went to the school to
volunteer in the library but two school administrators testified to no recollection of Mother ever having

volunteered at the school in the past Mother found her way to the cafeteria during the time of the

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 34 of 48

 

child’s lunch and had a brief encounter with him. After this encounter, the child immediately had
another suicidal episode

22. Based on Dr. Bullard’s testimony and notes the child has a history of physical and
mental abuse by Mother. In his current mental state, the triggers of school bullyingpressure along with
Mother are too much for the child to deal with at one time

23. Mother needs individual counseling to address her interactions With the child,

24. Father is a fit and proper person to have physical and legal custody of the child.

25. At this time Mother is not a fit and proper person to have physical custody of the child.

26. Mother is a fit and proper person to have secondary legal custody of the child, including
access to the child’s medical, school and other important records

27. At this time, it is in the child’s best interests that Father have sole physical custody and
primary legal custody

28. At this time, it is in the child’s best interests that he have no contact With Mother.

29. The circumstances of this case make a temporary order appropriate

CONCLUSIONS OF LAW

1. The Court has jurisdiction over the parties the subject matter of this action and the
minor children

2. Father is a fit and proper person to have temporary sole physical custody and temporary
primary legal custody of the child,

3. Mother is not a fit and proper person to have physical custody or contact with the child at

 

this time

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 35 of 48

4. Mother is a fit and proper person to have secondary legal custody of the child, including
access to the child’s medical, school and other important records

5. At this time it is in the child’s best interests that Father have sole physical and legal
custody

6. At this time, it is in the child’s best interests that he have no contact With Mother.

7. The circumstances of this case make a temporary order appropriate

8. Any other Finding of Fact necessary as a Conclusion of Law is hereby incorporated as a

Conclusion of Law.

Based upon the foregoing Findings of F act and Conclusions of Law, it is hereby
ORDERED:

l. Physical Custody. Father shall have temporary sole physical custody of the child.
Mother shall have no contact with the child unless and until the Court modifies this Temporary
Custody Order. Mother shall not attempt to communicate with the child by any means and shall not
respond to any attempts by the child to contact her. Mother shall not be present at the child’s school or
any other setting where the child is present

2. Legal Custody. Father shall have primary legal custody of the child. Father shall inform
Mother of any significant changes in the child’s education health, welfare or activities_including, but
not limited to, any hospital visits changes in counselors school suspensions and school transfers
Mother shall have access to the child’s medical, school and other important records but Mother Shall
not contact school personnel, counselors or individual medical providers to inquire about the child or

Father.

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 36 of 48

 

3. Mother shall participate in individual counseling to address her interactions with the
child. Mother shall provide her counselor(s)’ name and contact information to CFCR upon
commencing counseling and sign any releases necessary for CFCR to obtain her counseling records
Mother shall notify CFCR of any changes in her counselor(s).

4. Each of the parties shall at all times keep the other party and CFCR advised as to his or
her current contact information including his or her residence address mailing address (if` different),
phone number(s) and email address

5. Father shall not (1) refer to Mother in the presence or hearing of the child in a negative
derogatory or disparaging manner; (2) mention or discuss with the child or in his presence or hearing
matters related directly or indirectly to this Order, custody visitation, court, what happened in court,
the judge, the attomeys CFCR, child support, or anything related to past or present disputes between
the parties provided, however, that Father can inform the child that the Court decided to suspend his
visits and all contact with Mother for the time being; or (3) mention or discuss with the child or in his
presence or hearing any perceived shortcomings of Mother.

6. This Order shall be reviewed in ten months At such time, the Court shall (1) review
how the child is doing, (2) review how Mother is doing with individual counseling and (3) hear
evidence and determine a timefirame and method ofreunification

7. The parties shall continue to cooperate with CFCR in connection With this action

8. The Court retains jurisdiction of this action and should either party Willfully fail to
comply with or to perform the terms and conditions of this Order, this Court may enforce the Order by

its contempt powers or otherwise as provided by law.

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 37 of 48

 

c ./-~ 70 37

9. The parties shall bear their own attomeys’ fees and costs Father should pursue child

support as he is now sole custodian of the child.

This the g ((day of ]{/{W/(/ , 2018.

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€?/ls. He erson ‘V
'strictC urtludge

 

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 38 of 48

 

143. DEFENDANT PEGGY THEIS emailed, on January 18, 2018, “we will not be filing a motion to
challenge Subject matter jurisdiction.” After Plaintiff requested jurisdiction be addressed to allow
Plaintiffs equal access to courts DEFENDANTS actions and inactions excluded or otherwise denying
equal services programs or activities to an individual or entity because of the known disability of an
individual with Whom the individual or entity is known to have a relationship or association in violation
of 28 C.F.R. 35.130(g);

144. As a result of Defendants actions and inactions, Ms Brianne Stephens and her three children
TSS,D S, and D G S are persons aggrieved who have been injured and suffered pecuniary losses
emotional pain, suffering, inconvenience mental anguish, loss of enjoyment of life and other non
pecuniary losses

145. A Judge is not immune for tortious acts committed in a purely Administrative, non-judicial
capacity Forrester v. White, 484 U.S. at 227-229, 108 S.Ct. at 544-545; Stump v. Sparkman, 435 U.S.
at 380, 98 S.Ct. at 1106. Mireles v. Waco, 112 S.Ct. 286 at 288 (1991).

146. A state forfeits its sovereign immunity upon accepting the funding under section 504 of the
Rehabilitation Act of 1973. Any immunity is abrogated

147. The Defendants in this section have not done self-evaluations of their agencies policies interagency
agreements etc. per § 35.105 Self-evaluation.

ML
VIOLATIONS OF TITLE III OF ADA/ADAAA

148. Defendant The Association of Farnily and Conciliation Courts AFCC, is a “private entity” within
the meaning of 42 U.S.C. § 12181(1); and is subject to the ADA and its implementing regulations is a
world wide organization who generate a revenue by creating programing for problems they create and
sell their solutions as programing and policies in Family Courts around the World. None of their

programing is compliant with ADA/ADAAA and they teach its members how to circumvent federal

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 39 of 48

 

laws and Constitutional Principles and Practices with local state rules AFCC is the Association of
Family and Conciliation Courts -the premier interdisciplinary and international association of
professionals dedicated to the resolution of family conffict. AFCC members are the leading
practitioners researchers teachers and policymakers in the family court arena who create train sell,
endorse programming that violated the ADA/ADAAA. lnstead of resolving conffict, its member inject
conffict, do not protect children from abuse neglect or women from domestic violence lt is obligated to
make its facilities and programing accessible and not discriminatory to people with disabilities

149. This entity depends on disregarding the ADA/ADAAA to open mothers’ contract that two parents
signed regarding the care custody financial consideration of the two plaintiff minor children TS S and
D S,and such Was an interference of the plaintiff mothers right to contract It is obligated to make its
facilities accessible to people with disabilities

150. DEFENDANT HON GARY L HENDERSON ruled on January 2, 2018 Plaintiff has a history of
abuse WITH NO HlSTORY OF ABUSE. No evidence presented of abuse.NO MEDICAL PROOF.
DEFENDANT have not done self-evaluations of their agencies policies interagency agreements etc.
per § 35.105 Self-evaluation.

151. Violation of this lead to loss of patenting time and further perpetuate emotional abuse

QU_LIII

VIOLATIONS OF 42 USC 12203 COERCION AND lNT]lVI[DATION

 

AND SECTION 504 OF THE REHABILITATION ACT OF 1973

 

152. All previous paragraphs are re-alleged and reasserted as if fully set forth here
153. Brianne Stephens is an individual with Sjogrens Disease, Scleroderma, Partial Blindness and
regarded by Defendants as an individual having “PAS” and Depression . She required appropriate

individualized treatment accommodations and full and equal access to court proceedings concerning

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 40 of 48 l

her parental rights and the custody of her minor children TSS and D S accordingly she is a qualified
individual with a disability

154. DEFENDANTS ACTIONS AND INACTIONS caused injury to PLAINTIFFS WITH
DISABILIT[ES.

155. T S S and D S, two. minor children regarded by Defendants as individuals having “PAS, Anxiety
Depression” They required appropriate individualized treatment, accommodations and hrll and equal
access to court proceedings concerning their custody and their mother’s parental rights; accordingly
they are each a qualified individual with a disability

156. Defendants are recipients of federal financial assistance

157 . The Healthy Marriage and Responsible Fatherhood (HMRF) initiative is a $150 million
discretionary grant program originally authorized under the Deficit Reduction Act of 2005 and
reauthorized under the Claims Resolution Act of 2010.

158. The State of NC et al, have a policy and modus operandi of discriminating against mothers
particularly Ligl_e mothers and victims of domestic violence in order to receive federal grants via The
Healthy Marriage and Responsible Fatherhood (HMRF) initiative Defendants pit Responsible
Fatherhood against the Violence Against Women Act (VAWA) to generate a cyclical need for funding.

159. See Quillion v Wollcot US 1978, when a dissolution is granted the state creates two new families
and the “best interest is interest standard is unconstitutional for the state to disturb the families it
created. Only by child protective services can the state intercede in families

160. Defendants have a pattern and practice of using mental health accusations and discriminatory
policies namely “PAS and Depression” against mothers and children to achieve the goal of getting
federal funding via HMRF.

161. Defendants here used Ms Brianne Stephens family to obtain federal “access” grants via Fatherhood

funding to further discriminate against Ms. Brianne Stephens and her children Defendants gave

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 41 of 48

 

 

children’s father more access to the children to the extent where MsBrianne Stephens access to the
children was completely taken away based on her disabilities and sex-based stereotypes of those
disabilities

162. Defendants perpetuated a cycle of psychological conditioning, eugenics, and social engineering
here A]l Defendants who are mental health professionals and social workers are well-aware of the
outcome of their intentional tortious actions; Harry Harlow’s experiments on rhesus macaques and
reports on his findings of the negative effects of maternal deprivation is standard learning for
Psychology and Sociology education Defendants are knowingly doing damage to individuals and to
society as a whole Their actions cause depression problems in interpersonal relationships suicide
homicide and many other inffictions and adverse outcomes that affect society and global commerce

163. Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, provides that no qualified individual with a
disability, solely by the reason of his or her disability, may “be excluded from the participation in, be
denied the benefits of, or be subjected to discrimination under any program or activity receiving Federal
financial assistance.”

164. Defendants have discriminated intentionally against Plaintiffs by refusing appropriate individualized
treatment and accommodations necessary to ensure full and equal opportunity for Plaintiffs to
participate in Defendants’ programs in violation of Section 504 of the Rehabilitation Act, 29 U.S.C. §
794.

165. The plaintiffs are seeking damages and other relief from the defendants’ lack of compliance with
ADA/ADAAA and 504. These administrative failings resulted in denial of plaintiff‘s’ 14th amendment
rights The defendants’ actions resulted in deprivations and ongoing and accruing harm that is under
color of office color of authority and color of law. Actions the defendants are obligated to remedy but
instead willfully continue harm. So egregious that every attempt plaintiff makes to vindicate their

rights they are retaliated against

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 42 of 48

wm
DAMAGES ASSOCIATED WITH

VIOLATIONS OF 42 USC 12203 COERCI()N AND INTIMI])ATION

166. DEFENDANTS clear violation of Title 42 U.S.C. § 12203, a prohibition against interference
coercion intimidation and threatening; As a result of Defendants’ actions and inactions, Ms Brianne
Stephens and her children TSS,D S, and D G S are persons aggrieved who have been injured and
suffered pecuniary losses emotional pain, suffering, inconvenience mental anguish, loss of enjoyment
of life and other non pecuniary losses

167. Picking v. Pennsylvania R. Co. 151 Fed. 2nd 240; Pucket v. Cox 456 2nd 233

Pro se pleadings are to be considered without regard to technicality; pro se litigants pleadings are not to be
held to the same high standards of perfection as lawyers Plaintiffs require the accommodation or
reasonable modification of counsel. Please see motion for counsel.

168. The plaintiffs’ are providing ludicial Notice: “a parent who is a party to the lawsuit and Who has
the same interests as the child is a proper representative under Fed. R. Civ. P. 17(c). See generally T.W.
by Enk v. Brophy, 124 F.3d 893, 895-97 (7th Cir. 1997); see also ln re Chicago, Rock Island & Pac.

R.R. Co., 788 F.2d 1280, 1282 (7th Cir. 1986)

Prayer for Relief

169. an order assigning counsel to represent the plaintiff in these proceedings

17 0. WHEREFORE, Plaintiffs demand judgment against Defendants for the following:

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 43 of 48

 

 

171. a judgment declaring that Defendants have violated Title ll of the ADA, 42 U.S.C. §12131 et seq.,
and its implementing regulation, 28 C.F.R. Part 35 ; Title lll of the ADA, 42 U.S.C. §12181 et seq., and
its implementing regulation, 28 C.F.R. Part 36; and Section 504 of the Rehabilitation Act, 29 U.S.C. §
794;

172. An order Enjoining Defendants their ofhcers agents and employees and all other persons in active
concert or participation with Defendants as well as any successors or assigns from engaging in
discriminatory policies and practices against individuals based on their disabilities and specifically
from failing 'or refusing to take appropriate steps to ensure compliance with the requirements of Title ll
of the ADA, 42 U.S.C. § 12131 et seq., and its implementing regulations 28 C.F.R. Part 35; Title lll of
the ADA, 42 U.S.C. § 12181 et seq., and its implementing regulations 28 C.F.R. Part 36, and Section
504 of the Rehabilitation Act, 29 U.S.C. § 794;

173. An Order directing Defendants to modify their policies practices and procedures as necessary to
bring them into compliance with Title ll of the ADA, 42 U.S.C. § 12131 et seq., and its implementing
regulations 28 C.F.R. Part 35; Title IIl of the ADA, 42 U.S.C. § 12181 et seq., and its implementing
regulations 28 C.F.R. Part 36; and Section 504 of the Rehabilitation Act, 29 U.S.C. § 794;

174. An Order directing Defendants their agents and successors in office and all persons acting in
concert with the Defendants to promptly remedy the demonstrated violations of Title ll of the ADA and
its implementing regulation, and mitigate harm to Plaintiffs;

17 5. An order Terminating Defendants’ federal financial assistance;

176. An order assessing civil penalties against Defendants as authorized by 42 U.S.C. § 12188(b)(2)(C)

to vindicate the public interest;

 

177 . An order directing reimbursement To Ms Brianne Stephens

178. An order to award compensatory and punitive and damages to Plaintiffs ;-$-1%0;000:00

$16,000,000.00 per year, for 5 years 2014-2018 totaling $600;990:99 $80,000,000.00 for eael=r

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 44 of 48

Plaintiff§ from defendants Order allowing Plaintiff Ms Brianne Stephens control of ALL monies at
my discretion tax free and with no claw back or other interventions/intercepts on any dollar including
lRS or any others And trust set ups for minor children Plaintiffs TSS, DS, DGS with Plaintiff Ms
Brianne Stephens mother, as controller, owner of those trust funds and how/when to disburse monies
179. To award Plaintiffs’ attorney’s fees and costs;
180. .lnjunctive relief a habeas to return child D S.
181. Declaratory relief court to declare all orders made post-Parental Contract Agreement from 2014 to
2018 be void as they are legal nullities and this a void order can be challenged in any court

182. Order such other appropriate relief as the interests of justice require

l declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge and

belief
*fl j' l
This the Z_ day of fl OZOI g

Submitted by

 

Brianne Stephens
831 White Oak Lane
Matthews, NC 28104
980 475-5180
bsh566@aol.com

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 45 of 48

 

UNITED STATES DISTRICT COURT
FOR THE METERN DISTRICT
OF NGRTH CAROLINA
401 Weit 'h'ade St
Charlotte, NC 28202

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nanarrs,

V.

STATE OF NORTH CAROLINA, E'I‘ AL.

Defmdam:s.

 

CASE FH.ED IN`ASSOCIATTON WITH

DISTRECI`OFNEWJERSEYKAREN WOIFETALVS'IAIE OFNEWIERSEYETAL
2:2017-¢:\1-02072

WFSTERN DISTRICT OF OKLAHOMA COURT LISA KNIGHT ET AL V THE STATE OF
OKLAHOMA ET AL 17- cv 1250 (Vl\'fL) (GP)

NORI'BERN DISTRICT OF CAL]FORNIA MELISSA BARNE'IT ET ALV THE STATE OF
CALIFORNIA ET AL 17-CV-05514 (SI)

NORTHERN DISTRICT OF CAL]FORNIA FLORENCE BOYER ET AL V THE STATE OF
CAL]FORNIA ET AL 17-CV- 06063 (YGR)

DISTRICT OF OREGON CORAL THEILL ET AL V THE STKI`E OF OREGON ET AL
3:17-CV-01’722 (SFB)

DISTch or oREG<)N DAVI sANanz ET AL v run STATE or WAsnn~rGroN irc AL
3=17-Cv-01669(sl) ` `

Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 46 of 48

 

DISTRICT OF OREGON DONlA BUNNEL V THE STATE ()F OREGON ET AL 3:17 -CV-l786 (Sl`)

MIDDLE DISTRICT OF ALABAMA MIRANDA MITCHELL V THE STATE OF ALABAMA ET AL
2:17-CV-00768 (WC)

FEDERAL DISTRICT OF CONNECTICUT SUSAN SKIPP ET AL V THE STATE OF
CONNECTICUT 3:17-CV-1974 (VB)

FEDERAL DISTRICT OF MASSACHUSETTS CAll_.lN JAMES ET AL V THE COl\/ll\/IONWEALTH
OF MASSACHUSETTS ET AL # 17-CV-12346 (PBS)

NORTHERN DISTRICT OF CALIFORNIA KRlSTlNA KARKANEN ET AL V. STATE OF
CALIFORNIA ET AL 17 CV-06967 (SK)

FEDERAL DISTRICT OF MASSACHUSETTS NlKKl PATTIN ET AL V THE COMMONWEALTH
OF MASSACHUSETTS 1:17-CV-12469-PBS

FEDERAL DISTRICT COURT OF CONNECTICUT PAMELA D. EISENLOHR ET AL V THE STATE
OF CONNECTICUT ET AL 3:17 CV 02174

Take .ludicial Notice on Cases GENERAL COURT OF JUSTICE DISTRICT COURT DIVISION
STEPHENS V SHAH 02CVD20573(GLH), 02CVD020573

lt :m 2 . _
This the Z§ day of ' l big
submitted By f §LW §

Bfi\anne Stephens
831 White Oak Lane
Matthews NC 28104
MM
980 475-5180 cell

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Case 3:18-cv-00072-R.]C-DSC Document 84 Filed 05/08/18 Page 47 of 48

 

 

CERTIFICATE OF SERVICE

1 hereby certify that a copy of the document entitled PLAINTIFFS AMENDED
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Case 3:18-CV-OOO72-R.]C-DSC Document 84 Filed 05/08/18 Page 48 of 48

 

 

 

 

 

